Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 1 of 10 Page ID
                                #:43967


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16                                 UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18
       IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
19     LEAGUE’S “SUNDAY TICKET”                        DEFENDANTS’ OPPOSITION TO
20
       ANTITRUST LITIGATION                            PLAINTIFFS’ MOTION IN
       ______________________________                  LIMINE NO. 4 TO PRECLUDE
21                                                     EVIDENCE AND ARGUMENTS
                                                       REGARDING BACKGROUND OF
22     THIS DOCUMENT RELATES TO:                       THIS LITIGATION
       ALL ACTIONS                                     Judge: Hon. Philip S. Gutierrez
23
                                                       Date: February 7, 2024
24                                                     Time: 2:30 p.m.
25                                                     Courtroom: First Street Courthouse
                                                                  350 West 1st Street
26
                                                                  Courtroom 6A
27                                                                Los Angeles, CA 90012
28
      Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                              Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 2 of 10 Page ID
                                #:43968


 1           Plaintiffs’ fourth motion in limine (“Mot.”) seeks to exclude certain evidence
 2   and argument regarding what Plaintiffs characterize as the “background of this
 3   litigation.” ECF No. 1113-1. The NFL Defendants do not intend to assert that the
 4   litigation is “attorney-driven.” Nor do Defendants intend to assert that the mere
 5   passage of time dictates whether a given practice is anticompetitive. To the extent
 6   that Plaintiffs seek to exclude these specific assertions, the motion is unopposed.
 7           The NFL Defendants do contend, however, that further limits on their ability
 8   to offer evidence relating to Plaintiffs’ involvement in this lawsuit or relevant facts
 9   about the creation of Sunday Ticket would unfairly curtail and prejudice their ability
10   to defend against Plaintiffs’ allegations. Any request for such broader relief
11   accordingly should be denied.
12   I.      Evidence And Argument About Plaintiffs’ Conduct With Respect To
13           Sunday Ticket Is Relevant.

14           Plaintiffs first seek an order prohibiting evidence and argument “regarding . . .
15   how Plaintiffs became involved in this litigation and their motivation for bringing
16   this lawsuit, Plaintiffs’ relationship with their attorneys, and any reference to the
17   litigation as being ‘attorney-driven’ or motivated by attorneys.” Mot. at 2–4, 6.
18   Defendants do not intend to argue that this litigation is “attorney-driven.”
19           However, limitations on arguments should not bar underlying evidence where
20   it is admissible for another purpose. See Fed. R. Evid. 105 (contemplating evidence
21   admitted for one purpose despite being inadmissible for another purpose); see also
22   Zucchella v. Olympusat, Inc., 2023 WL 2633947, at *6 (C.D. Cal. Jan. 10, 2023)
23   (citations omitted). Much of the evidence that Plaintiffs seek to exclude is relevant to
24   whether Plaintiffs were injured, the reasonableness of the NFL Defendants’ conduct,
25   and whether that conduct was procompetitive as opposed to anticompetitive. This
26   includes evidence of the class representatives’ (and other class members’) repeated
27   subscriptions to Sunday Ticket; evidence of their ongoing satisfaction with the
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      Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                             Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 3 of 10 Page ID
                                #:43969


 1   product; and evidence that they continued subscribing to Sunday Ticket even after
 2   becoming involved in this litigation and filing their complaints.
 3           First, Plaintiffs’ actions are relevant to the question of whether they were
 4   injured by Defendants’ conduct. The class representatives’ purchasing behavior,
 5   including whether under alternative market conditions they would have used a
 6   different product or stopped using Defendants’ product altogether, is “concrete[ly]
 7   relevant” to the question of antitrust injury. Staley v. Gilead Scis., Inc., 2021 WL
 8   4318404, at *3 (N.D. Cal. July 19, 2021).
 9           Second, Plaintiffs’ actions are relevant to the question of whether the NFL
10   Defendants engaged in anticompetitive or exclusionary conduct, as well as the
11   procompetitive effects of Defendants’ conduct. See, e.g., FTC v. Qualcomm Inc., 969
12   F.3d 974, 991–92 (9th Cir. 2020) (outlining standards for proving Sherman Act
13   Section 1 and Section 2 violations). The challenged conduct must be assessed under
14   the rule of reason, Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006), and “[i]f a plaintiff
15   establishes at step one [of the rule of reason inquiry] that the defendant’s restraints
16   impose substantial anticompetitive effects, then the burden shifts back to the
17   defendant to show a procompetitive rationale for the restraints.” Epic Games v.
18   Apple, Inc., 67 F.4th 946, 985–86 (9th Cir. 2023), cert. denied, — S. Ct. —, 2024
19   WL 156473, 2024 WL 156474 (S. Ct. Jan. 16, 2024) (cleaned up) (quoting Nat’l
20   Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2160 (2021)); Ohio v. Am.
21   Express Co. (“Amex”), 138 S. Ct. 2274, 2284 (2018) (same); see also, e.g.,
22   Qualcomm, 969 F.3d at 991 (“Regardless of whether the alleged antitrust violation
23   involves concerted anticompetitive conduct under § 1 or independent anticompetitive
24   conduct under § 2, the three-part burden-shifting test under the rule of reason is
25   essentially the same.”). “A procompetitive rationale” includes evidence that the
26   conduct leads to “enhanced consumer appeal.” Epic Games, 67 F.4th at 986 (citation
27   omitted).
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      Case No. 2:15-ml-02668-PSG (SKx)      Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                            Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 4 of 10 Page ID
                                #:43970


 1           Here, evidence of Plaintiffs’ decisions not to cancel and, in some cases, to
 2   renew their subscriptions—before and after initiating this lawsuit––is relevant
 3   because it demonstrates Sunday Ticket’s high consumer appeal, including to avid
 4   fans. Evidence that the class representatives and other class members were satisfied
 5   with the product similarly tends to show that the product was of a high quality—and
 6   product quality is indisputably relevant in a rule of reason case. See, e.g., Epic Games,
 7   67 F.4th at 983, 987–88 (product quality is relevant consideration in rule of reason
 8   analysis); In re Dealer Mgmt. Sys. Antitrust Litig., 2023 WL 4305901, at *36 (N.D.
 9   Ill. June 29, 2023) (noting increased product quality as one explanation for increased
10   product pricing).
11           Third, evidence of Plaintiffs’ conduct is relevant to whether Defendants’
12   contracting strategy was reasonable. That Plaintiffs were not disgruntled customers
13   who believed that Sunday Ticket was overpriced before filing the lawsuit suggests
14   (i) that they valued the product and (ii) that Sunday Ticket provides avid fans with
15   access to a high-quality product that they want to watch. Indeed, for the commercial
16   class representatives, such evidence of Plaintiffs’ actions demonstrates that
17   Defendants’ contracting strategy allowed commercial customers to profit from their
18   subscriptions to Sunday Ticket. The NFL Defendants should be permitted to rely on
19   such evidence to demonstrate procompetitive benefits, such as increased or sustained
20   product quality, increased product innovation, and maximization of fan reach and
21   access. See Oshana v. Coca-Cola Bottling Co., 225 F.R.D. 575, 583 (N.D. Ill. 2005)
22   (putative class representative’s continued purchase of the challenged product did not
23   disqualify her as a class representative but “certainly appear[s] to weaken [her]
24   case”). The evidence is also relevant to rebut Plaintiffs’ allegations that Defendants’
25   contracting strategy was unreasonable and led to supra-competitive pricing. When
26   viewed in light of the many options available to viewers of NFL game broadcasts,
27   Plaintiffs’ actions support Defendants’ position that the distribution of Sunday Ticket
28   was reasonable.
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      Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                             Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 5 of 10 Page ID
                                #:43971


 1              The result is no different under Rule 403, which permits exclusion of relevant
 2   evidence only “if its probative value is substantially outweighed by a danger of one
 3   or more of the following: unfair prejudice, confusing the issues, misleading the jury,
 4   undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.
 5   Evid. 403. Far from “distract[ing]” the jury “from the key issues in the case,” and
 6   encouraging the jury to “decide the case on improper grounds,” see Mot. at 3 (quoting
 7   In re Urethane Antitrust Litig., 2016 WL 475339, at *7 (D.N.J. Feb. 8, 2016)),
 8   Defendants seek to introduce evidence of Plaintiffs’ history of purchasing Sunday
 9   Ticket only for the purpose of refuting the elements of Plaintiffs’ antitrust claims.
10   Plaintiffs do not identify any substantial risk of prejudice associated with this
11   evidence. See Munoz v. PHH Mortg. Corp., 2022 WL 138670, at *2 (E.D. Cal. Jan.
12   14, 2022) (denying motion in limine where the moving party failed to offer “specific
13   reasons why the jury will be confused”). But even if Plaintiffs could carry their
14   burden to establish a risk of prejudice, any potential prejudice does not substantially
15   outweigh the importance of ensuring that Defendants are able to rely upon relevant
16   evidence to defend against Plaintiffs’ claims or the probative value of that evidence.
17   Thus, to the extent that Plaintiffs seek to preclude Defendants from presenting this
18   evidence, that request should be denied.
19   II.        Evidence And Argument Regarding The History Of The Challenged
20              Conduct Is Relevant.
21              Plaintiffs also seek an order prohibiting evidence and argument “that the
22   challenged conduct is longstanding, or went unchallenged until recently, to imply
23   legality.” Mot. at 4–6. Defendants do not intend to assert that the mere passage of
24   time dictates whether or not a given practice is anticompetitive.1 But any broader
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      Contrary to Plaintiffs’ suggestion, see Mot. at 4 n.1, the restraints challenged here
     have not been challenged before in any litigation. Shaw v. Dallas Cowboys Football
27   Club, Ltd., 1998 WL 419765 (E.D. Pa. June 23, 1998), aff’d, 172 F.3d 299 (3d Cir.
28   1999), addressed a now decades-old agency agreement between DirecTV and the
     NFL that was fundamentally different from the licensing agreements challenged here.
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         Case No. 2:15-ml-02668-PSG (SKx)      Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                               Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 6 of 10 Page ID
                                #:43972


 1   relief would not be appropriate, including any ruling that might prevent Defendants
 2   from explaining the procompetitive rationales and effects of the challenged conduct,
 3   or from asserting their well-pleaded defenses under the statute of limitations and
 4   doctrine of laches. See ECF No. 442, Answer to Am. Compl. at 28, 30.
 5           Evidence of Sunday Ticket’s procompetitive rationales and Plaintiffs’
 6   purchases. The jury should be permitted to hear and consider evidence regarding the
 7   relevant history of the challenged conduct, including the timing of the agreements
 8   and Plaintiffs’ conduct before and after filing this lawsuit. The rule of reason requires
 9   “‘the factfinder [to] weigh[] all of the circumstances of a case in deciding whether a
10   restrictive practice should be prohibited as imposing an unreasonable restraint on
11   competition’ . . . includ[ing] ‘specific information about the relevant business’ and
12   ‘the restraint’s history, nature, and effect.’” Leegin Creative Leather Prods., Inc. v.
13   PSKS, Inc., 551 U.S. 877, 885 (2007) (citations omitted).
14           Under this standard, evidence about the procompetitive rationales and effects
15   of the challenged conduct relating to Sunday Ticket, when the lawsuit was brought,
16   and customer satisfaction both before and after the lawsuit was filed, are each
17   relevant to the disposition of Plaintiffs’ antitrust claims. This includes evidence
18   elicited by Defendants on cross examination regarding whether the class
19   representatives’ level of satisfaction with the product motivated them to bring the
20   lawsuit. Similarly, evidence of the popularity of Sunday Ticket and customer
21   satisfaction with the product (including after the litigation was initiated) is relevant
22   to rebut Plaintiffs’ claims that Sunday Ticket was priced supra-competitively and
23   without regard to consumer demand for NFL telecasts. See, e.g., In re Live Concert
24   Antitrust Litig., 863 F. Supp. 2d 966, 975 (C.D. Cal. 2012) (“Common sense dictates
25   that a more popular [product] typically will command higher . . . prices than a less
26   popular [product].”).
27           For example, Defendants contend that appealing to avid fans was one of the
28   motivations for the challenged strategy to distribute Sunday Ticket through DirecTV.
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      Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                             Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 7 of 10 Page ID
                                #:43973


 1   Evidence of this rationale, including how customers responded to the distribution
 2   strategy over time, is therefore relevant to assessing the reasonableness of the
 3   restraint      and      whether     Defendants’    alleged         anticompetitive              conduct         had
 4   procompetitive justifications. See Epic Games, 67 F.4th at 987 (Apple’s goal of
 5   “tapping into consumer demand,” established in part through evidence of consumer
 6   surveys, was a “plainly procompetitive rationale[].”); Qualcomm, 969 F.3d at 991
 7   (“‘If the monopolist asserts a procompetitive justification . . . , for example, greater
 8   efficiency or enhanced consumer appeal—then the burden shifts back to the plaintiff
 9   to rebut that claim.’” (emphasis added) (quoting United States v. Microsoft Corp.,
10   253 F.3d 34, 59 (D.C. Cir. 2001)).
11           Defendants have a right to introduce such evidence relevant to the competitive
12   effects analysis. See, e.g., Armor Corr. Health Servs., Inc. v. Teal, 2022 WL
13   18458135, at *5–6 (S.D. Fla. Jan. 7, 2022) (declining to grant plaintiff’s motion in
14   limine to exclude rebuttal evidence that defendant “[wa]s entitled to present” to refute
15   plaintiff’s theory of liability where plaintiff did not “demonstrate[] that this evidence
16   is clearly inadmissible on all potential grounds”); Beebe v. NutriBullet, LLC, 2022
17   WL 3368564, at *1 (C.D. Cal. Aug. 16, 2022) (“[N]othing in this Order shall prevent
18   Defendants from presenting evidence pertaining to” plaintiff’s theory of liability.);
19   cf. United States v. Dees, 34 F.3d 838, 842 (9th Cir. 1994) (“In general, a defendant
20   is entitled to have the judge instruct the jury on his theory of defense, provided that
21   it is supported by law and has some foundation in the evidence.” (cleaned up)).
22           Evidence relevant to Defendants’ defenses. Defendants also oppose
23   Plaintiffs’ request to the extent that it seeks to limit Defendants’ ability to assert their
24   well-pleaded defenses under the statute of limitations and doctrine of laches.
25   Plaintiffs’ motion includes argument suggesting that the statute of limitations does
26   not apply to their claims in light of the “continuing violation doctrine.” Mot. at 5–6.
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      Case No. 2:15-ml-02668-PSG (SKx)            Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                                  Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 8 of 10 Page ID
                                #:43974


 1   Those arguments are not properly the subject of a motion in limine and, in any event,
 2   are both legally incorrect and factually unsupported.2
 3              To the extent that Plaintiffs seek to use this motion to limit Defendants’ ability
 4   to assert their defenses under the statute of limitations or doctrine of laches, a motion
 5   in limine is not the appropriate vehicle. Provident Life & Accident Ins. Co. v. Adie,
 6   176 F.R.D. 246, 250 (E.D. Mich. 1997) (“If [plaintiff] wanted to preclude [defendant]
 7   from raising these defenses at trial because there was no genuine issue of material
 8   fact as to them, then he should not have filed a motion in limine on the eve of trial,
 9   but should instead have filed a summary judgment motion pursuant to Federal Rule
10   of Civil Procedure 56.”); see also Pavo Sols. LLC v. Kingston Tech. Co., 2020 WL
11   1049911, at *1 (C.D. Cal. Feb. 18, 2020) (cleaned up) (“allowing a party to litigate
12   matters” in a motion in limine “that have been or should have been resolved at an
13   earlier stage not only allows those dissatisfied with the court’s initial ruling a chance
14   to relitigate, but also deprives their opponents of [those crucial] procedural
15   protections that attach at summary judgment”).
16              Defendants seek to introduce the challenged evidence only for the purposes of
17   refuting the elements of Plaintiffs’ antitrust claims and presenting their affirmative
18   defenses. As with Plaintiffs’ purchasing history, Plaintiffs have failed to carry their
19   burden to identify any substantial risk of prejudice associated with presenting this
20   evidence, and any potential prejudice does not substantially outweigh the importance
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23     Plaintiffs are incorrect to suggest that the continuing violation doctrine applies here,
     and in any event, Plaintiffs have adduced no evidence to support that limited
24   exception to the accrual rule. See, e.g., Aurora Enters., Inc. v. Nat’l Broad. Co., 688
     F.2d 689, 694 (9th Cir. 1982) (“[T]he mere fact that defendants receive a benefit
25   today as a result of a contract [that itself violated the Sherman Act] is not enough to
     restart the statute of limitations.”); Ryan v. Microsoft Corp., 147 F. Supp. 3d 868,
26   884 (N.D. Cal. 2015) (“Merely carrying out during the limitations period a final,
     binding decision made prior to the limitations period does not qualify as a new overt
27   act.”); SaurikIT, LLC v. Apple, Inc., 2023 WL 8946200, at *1 (9th Cir. Dec. 28, 2023)
28   (“[P]ermitting new unchanged . . . agreements to establish continuing violations
     would vitiate the purpose of the statute of limitations.”).
                                                      7
         Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                                 Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 9 of 10 Page ID
                                #:43975


 1   of ensuring that Defendants are able to defend against Plaintiffs’ claims or the
 2   probative value of that evidence.
 3                                       #   #        #         #          #
 4           Defendants therefore submit that the following restrictions should apply to
 5   both sides, but maintain that further relief is inappropriate:
 6           1. No party shall assert that this litigation is—or is not—“attorney-driven”;
 7                and
 8           2. No party shall assert that the mere passage of time dictates whether or not
 9                a given practice is anticompetitive.
10   Defendants also respectfully request confirmation that nothing in the Court’s order
11   affects Defendants’ ability to assert their well-pleaded affirmative defenses,
12   including under the statute of limitations and doctrine of laches.
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      Case No. 2:15-ml-02668-PSG (SKx)           Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                                 Evidence And Arguments Regarding Background Of This Litigation
Case 2:15-ml-02668-PSG-SK Document 1169 Filed 01/19/24 Page 10 of 10 Page ID
                                 #:43976


  1   Dated: January 19, 2024            Respectfully submitted,

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      Case No. 2:15-ml-02668-PSG (SKx)   Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 4 To Preclude
                                         Evidence And Arguments Regarding Background Of This Litigation
